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             Exhibit
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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK




    In re Google Digital Advertising Antitrust               Civil Action No. 21-MD-3010 (PKC)
    Litig.




                                      CONFIDENTIALITY ORDER

Note to Reader re: In-line Disputed Provisions
       (Google): Google’s proposed addition
       (Meta): Meta’s proposed addition
       (Plaintiff): Plaintiffs’ proposed addition

        In the interests of: (i) ensuring efficient and prompt resolution of these Actions;

(ii) discovery by the Parties litigating these Actions; and (iii) protecting certain information from

improper disclosure or use, the Court enters the following Confidentiality Order. This Order

supersedes all protective orders or confidentiality orders previously entered in any of the Actions,

as defined below in Paragraph 1(a).1

        The Court, upon good cause shown and pursuant to Fed. R. Civ. P. 26(c)(l), ORDERS as

follows:

A. Definitions

        1.       As used herein:




1
  For the avoidance of doubt, the Agreed Protective Order between Google and the Office of the Attorney General of
Texas, entered in Texas state court on February 20, 2020 (the “Texas OAG Order”), Google v. Paxton, No. D-1-GN-
19-007654 (261st Dist. Ct., Travis County, Tex., Feb. 21, 2020), and the Confidentiality Agreement entered into In
The Matter of The Multistate Investigation of Alphabet Inc., between Google and various states, including State
Plaintiffs, dated February 20, 2020 (the “Multistate Confidentiality Agreement”)
EITHER (Google) remain in full force and effect. OR (Plaintiff) are superseded by this Order, as to any State
Plaintiff. For all other states which are not State Plaintiffs, the Multistate Confidentiality Agreement remains
in full force and effect.


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                  (a)      “Actions” means collectively the actions centralized by the Judicial Panel

on Multidistrict Litigation under the caption In re Google Digital Advertising Antitrust Litig., No.

21-MD-3010 (PKC) (S.D.N.Y.), as well as any additional actions subsequently transferred and/or

centralized with these Actions, including any related discovery, pretrial, trial, post-trial, or

appellate proceedings. The term Action means an individual action within the Actions. For the

avoidance of doubt, “Actions” excludes pre-suit investigations by State Plaintiffs.

                  (b)      “Confidential      Information”       or    “Confidential”       means      information

(regardless of how it is generated, stored or maintained) or tangible things that qualify for

protection under Federal Rule of Civil Procedure 26(c) and that have been so designated, or any

Document, transcript, or other material containing such information that has not been published or

otherwise made publicly available.2 In addition, a Designating Party may designate as Confidential

any information or items made publicly available in violation of a court order to keep such

information confidential, that the Designating Party believes should receive Confidential

treatment. Confidential Information includes (i) information copied or extracted, summarized or

compiled from Confidential Information, and (ii) testimony, conversations, or presentations by

Parties or their Counsel that reveal Confidential Information.

                  (c)      “Competitive Decision-Making” means the action or process of making a

business decision or resolving a non-legal question relating to a competitor, potential competitor,

customer, or distribution partner regarding contracts, marketing, pricing, product, service

development or design, product, or service offering, research and development, mergers and

acquisitions, or licensing, acquisition, funding or enforcement of intellectual property. It does not



2
  For the avoidance of doubt, the Receiving Party’s belief that material designated as Confidential does not meet this
standard shall not deprive such material of the protections afforded to Confidential Information. Any challenge to a
designation is subject to Paragraph 13.


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include legal advice provided in connection with litigation, potential litigation, or regulatory

matters, nor does it include work performed as part of a trial team or to keep management advised

on the progress or status of litigation, potential litigation, or regulatory matters.

                  (d)      “Defendant” means any party named as a defendant in any of the Actions,

including their parents, divisions, subsidiaries, affiliates, partnerships and joint ventures, and all

directors, officers, employees, agents (including counsel), and representatives of the foregoing.

                  (e)      “Designated In-House Counsel” means up to four In-House Counsel

designated by a Defendant or Plaintiff who are authorized to access Highly Confidential

Information pursuant to Paragraph 14(d) or who may be authorized to access Highly Confidential

Information pursuant to Paragraph 19 of this Order.

                  (f)      “Disclosed” means shown, divulged, revealed, produced, described,

transmitted or otherwise communicated, in whole or in part.

                  (g)      “Document” means any document or electronically stored information, as

the term is used in Fed. R. Civ. P. 34(a).

                  (h)      “Highly Confidential Information” or “Highly Confidential,” as defined

herein, shall only include information that, if disclosed publicly or to a Party, is likely to cause the

Producing Party material and significant competitive or commercial harm, and that has been so

designated.3 Subject to the foregoing, Highly Confidential Information may include trade secrets,

including algorithms and source code4 (Plaintiff) or Source Code ; non-public, commercially


3
 For the avoidance of doubt, the Receiving Party’s belief that material designated as Highly Confidential does not
meet this standard shall not deprive such material of the protections afforded to Highly Confidential Information. Any
challenge to a designation is subject to Paragraph 13.
                  Google’s Requested Provision; Disputed by Plaintiffs; Meta takes no position
4
 To the extent the production of source code becomes necessary, the Parties reserve their rights to modify this
order as necessary to protect such materials and information, and the Parties shall meet and confer in good
faith regarding such modifications. No Party will be required to produce source code until modifications to this
order relating to the protection of source code have been entered by the Court.


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sensitive customer lists; non-public financial, marketing, or strategic business planning

information; current or future non-public information regarding prices, costs, or margins;

information relating to research, development testing of, or plans for existing or proposed future

products; evaluation of the strengths and vulnerabilities of a Protected Person’s product offerings,

including non-public pricing and cost information; confidential contractual terms, proposed

contractual terms, or negotiating positions (including internal deliberations about negotiating

positions); information relating to pending or abandoned patent applications that have not been

made available to the public; personnel files; sensitive personally identifiable information; and

communications that disclose any Highly Confidential Information. Highly Confidential

Information includes (i) information copied or extracted, summarized or compiled from Highly

Confidential Information, and (ii) testimony, conversations, or presentations by Parties or their

Counsel that would reveal Highly Confidential Information. A Designating Party may designate

as Highly Confidential any information or items made publicly available in violation of a court

order to keep such information confidential, that the Designating Party believes should receive

Highly Confidential treatment. In addition, if a Protected Person (i) has produced Investigation

Materials or (ii) is required by subpoena or court order to produce information that would cause it

material and significant competitive or commercial harm, but that information does not specifically

fall into one of the categories of information listed in this paragraph, upon a compelling showing,

it may seek a court order that such information is Highly Confidential. If a motion is made pursuant

to this paragraph and is related to a subpoena or court order, it must be filed no later than the due

date to respond to the subpoena or court order. If a Protected Person seeks additional protection

pursuant to this paragraph from the Court, the materials for which additional protection has been

sought will not be provided to other Persons, aside from outside counsel, until the Court has ruled.



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               (i)     “In-House Counsel” means any lawyer employed by a Party as well as any

paralegals, administrative assistants, and clerical and administrative personnel supervised by that

lawyer and employed by that Party. In-House Counsel, however, does not include: 1) attorneys

employed by the State Plaintiffs; or 2) Outside Counsel.

               (j)     “Investigation” means the pre-complaint inquiry by the State Plaintiffs into

       potential anticompetitive conduct by Defendant Google.

               (k)     “Investigation Materials” means non-privileged documents, testimony or

other materials that: (i) any Non-Party provided to any Party, either voluntarily or under

compulsory process, relating to the Investigation; (ii) constitute any communication between any

Party and any Non-Party in connection with and during the Investigation; (iii) any Party provided

to any Non-Party relating to the Investigation; and/or (iv) a Defendant, or affiliated person or

entity, provided to a State Plaintiff relating to the Investigation. For the avoidance of doubt, the

Investigation Materials are EITHER (Google) governed by the terms of this Order OR

(Plaintiff) deemed to have been produced in these Actions. To the extent that any Investigation

Materials are clawed back for any reason, the procedures set forth at Paragraph 12 of this Order

shall apply and, as to State Plaintiffs, such procedures will supersede any other applicable claw

back procedures governing the Investigation Materials including those set forth in the Texas OAG

Order and the Multistate Confidentiality Agreement.

               (l)     “Litigation Materials” means non-privileged documents, testimony, or

other materials that: (i) any Non-Party provides to any Party, either voluntarily or under

compulsory process, in connection with and during the pendency of any of the Actions; (ii)

constitute any communication between any Party and any Non-Party in connection with and during

the pendency of any of the Actions; (iii) a Defendant provides to any Plaintiff in connection with



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and during the pendency of any of the Actions; and/or (iv) any Plaintiff provides to any Defendant

in connection with and during the pendency of any of the Actions.

               (m)     “Non-Party” means any natural person, partnership, corporation,

association, or other legal entity not named as a Party in any Action.

               (n)     “Outside Counsel” means the attorneys employed by outside law firms who

are retained to represent or advise a Party in any of the Actions, as well as any paralegals,

administrative assistants, and clerical and administrative personnel supervised by those lawyers

and employed by those Outside Counsel. To the extent any Outside Counsel has not filed an

appearance in any of the Actions (“Non-Appearing Law Firm”), a Party shall notify the other

Parties of the name of the Non-Appearing Law Firm at least seven days before any attorneys of

the Non-Appearing Law Firm obtain access to any Investigation Materials and/or Litigation

Materials. Attorneys of the Non-Appearing Law Firm who are given access to Investigation

Material and/or Litigation Material, shall first complete and execute an Agreement Concerning

Confidentiality agreeing to be bound by the terms of this Confidentiality Order in the form of

Appendix A attached hereto.

               (o)     “Party” means any Plaintiff or Defendant in these Actions. “Parties”

collectively means Plaintiffs and Defendants in the Actions.

               (p)     “Plaintiffs” means the Plaintiffs in each of the Actions, including all of their

employees, agents, and representatives.

               (q)     “Person” means any natural person, corporate entity, business entity,

partnership, association, joint venture, governmental entity, or trust.

               (r)     “Producing Party” shall mean a Party who produced or produces

Investigation Material or Litigation Material (Plaintiff) or Source Code.



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               (s)     “Protected Person” means any Person (including a Party or a Non-Party)

that either voluntarily or under compulsory process, has provided or provides: (i) Investigation

Materials, or (ii) Litigation Materials.

               (t)     “Receiving Party” shall mean a Party who received or receives Investigation

Material or Litigation Material (Plaintiff) or Source Code.

 Plaintiffs’ Requested Provision; Disputed by Google; Meta takes no position on all source
                                      code references

(u) “Source Code” means extremely sensitive information or items representing computer

code and associated comments and revision histories, formulas, engineering specifications,

or schematics that define or otherwise describe in detail the algorithms or structure of

software or hardware designs, disclosure of which other than pursuant to the terms of this

Protective Order would create a risk of serious harm that could not be avoided by less

restrictive means. To the extent production of Source Code becomes necessary in this case,

a Party who produces Source Code may designate it as “Highly Confidential – Source

Code.” The protocols for Google’s production of Source Code, and the review of such

Source Code, appear in Appendix C to this Order.


               (u)     “State Plaintiffs” means the States of Texas, Alaska, Arkansas, Idaho,

Indiana, Kentucky, Florida, Louisiana, Mississippi, Montana, Missouri, Nevada, North Dakota,

South Dakota, South Carolina, Utah, the Commonwealth of Kentucky and Puerto Rico, and any

other state that joins an Action.

               (v)     “State Plaintiffs’ Counsel” shall mean attorneys who work within the

Attorney General’s office of a State Plaintiff.




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B. Designation of Highly Confidential Information and Confidential Information

       2.      Within five business days of the Court’s entry of this Order, each Party shall send

by email, facsimile, or overnight delivery a copy of this Order to any Non-Party Protected Person

(or, if represented by counsel, the Non-Party Protected Person’s counsel) that provided

Investigation Materials to that Party.

       3.      Designation of Investigation Materials as Confidential or Highly Confidential

by Protected Persons. To the extent a Protected Person has already designated Investigation

Materials as Confidential or Highly Confidential, including under the protective order entered in

Texas v. Google, LLC, No. 4:20-cv-957-SDJ (E.D. Tex.), Dkt. 101, those materials shall retain

those existing designations, subject to any later challenge by a Party.

     Google’s Requested Addition to ¶3; Disputed by Plaintiffs; Meta takes no position

Except as explicitly provided herein, nothing in this Order purports to alter the protections

previously afforded to Investigation Materials, including under the Texas OAG Order and

the Multistate Confidentiality Agreement.

To the extent that Investigation Materials are reproduced in the Actions, all protections afforded

to Litigation Materials pursuant to this Order shall apply.

       4.      Investigation Materials that have not been designated as Highly Confidential shall

be treated as Confidential Information for purposes of this Order pursuant to the Antitrust Civil

Process Act, or any other federal or state statute or regulation, or under any federal or state court

precedent interpreting such statute or regulation, as well as any information that discloses the

substance of the contents of any Confidential Information derived from a document subject to this

Order, and any information taken from any portion of such material.




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        5.     The identity of a Non-Party submitting such Highly Confidential Information or

Confidential Information shall also be treated as Highly Confidential Information or Confidential

Information for the purposes of this Order where the submitter has requested such confidential

treatment.

        6.     Any production of documents or testimony not designated as Confidential or

Highly Confidential Information will not be deemed a waiver of any future claim of confidentiality

concerning such information if it is subsequently designated as Confidential or Highly

Confidential Information. If at any time before trial of these Actions, a Protected Person realizes

that it should have designated as Confidential or Highly Confidential Information any

Investigation Materials or Litigation Materials (Plaintiff) or Source Code that Person previously

produced, it may so designate such Documents, testimony, or other materials by notifying the

Parties in writing, and, to the extent the new designations relate to Documents, an overlay file with

the new designations shall also be provided in accordance with Paragraph 7(g). The Parties shall

thereafter treat the Investigation Materials or Litigation Materials (Plaintiff) or Source Code

pursuant to the Protected Person’s new designation under the terms of this Order. However, the

disclosure of any information for which disclosure was proper when made will not be deemed

improper regardless of any such subsequent confidentiality designation.

        7.     Designation of Litigation Materials as Highly Confidential or Confidential by

Protected Persons. The following procedures govern the process for Protected Persons to

designate as Highly Confidential or Confidential any information that they disclose in these

Actions, including, but not limited to, information in response to requests under Fed. R. Civ. P.

30, 31, 33, 36, and 45, and Documents disclosed in response to Fed. R. Civ. P. 33(d), 34(b)(2) and

(c), or 45:



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                 (a)      Indiscriminate designations are prohibited.

                 (b)      Testimony. All transcripts of depositions taken in these Actions after entry

of this Order will be treated as Highly Confidential Information in their entirety for 45 days after

the date of the deposition, or until 5 days before trial, whichever date is earlier. Parties will be

responsible for obtaining the deposition transcript for any Party5 deponents. For Non-Party

deponents, if requested by the Non-Party deponent, the Party who noticed the deposition shall,

within 5 business days of being provided a final transcript (subject to any errata) of the deposition

(or as soon as reasonably possible after the request is made), provide the final transcript (subject

to any errata) to the Non-Party deponent (or the Non-Party deponent’s counsel, if applicable).

Within 45 days following the date of the deposition, the deponent, whether a Non-Party or a Party,

may designate, subject to the provisions of this Order, Highly Confidential Information (Plaintiff)

or Confidential Information any portion of the deposition transcript, by page(s) and line(s), and

any deposition exhibits provided by the deponent or the deponent’s employer or its affiliates, or

containing the Highly Confidential Information (Plaintiff) or Confidential Information of the

deponent or the deponent’s employer or its affiliates (regardless of who provided or produced the

Document). To be effective, such designations must be provided in writing to the Parties. All

transcripts of depositions taken in these Actions after entry of this Order will be treated as Highly

Confidential Information in their entirety until the deadline for the deponent to designate portions

of the transcript as Highly Confidential Information has expired.




5
 For purposes of this provision, the term “Party” includes 30(b)(6) witnesses, and a Party’s employees and former
employees.


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       Google’s Requested Provision; Disputed by Plaintiffs; Meta takes no position
             [Other changes in this paragraph are dependent on this issue.]

Any portion of the transcript or exhibits not so designated pursuant to this Paragraph 7(b)

shall be treated as Confidential Information.


Further, to the extent that a Party’s Highly Confidential (Plaintiff) or Confidential Documents

were utilized in the deposition, that Producing Party also has 45 days following the date of the

deposition to designate any portion of the deposition testimony as Highly Confidential (Plaintiff)

or Confidential to the extent the deposition testimony discloses or relates to Highly Confidential

(Plaintiff) or Confidential Documents used at the deposition. To be effective, such designations

must be provided in writing to the Parties’ counsel.

       When a Party is entitled under this Order to question a deponent about a Document or

information that has been designated by a Non-Party as Highly Confidential or Confidential, and

such Non-Party is not in attendance at the deposition, the Party that asked such questions shall

designate as Highly Confidential or Confidential the portion of the transcript relating to such

Highly Confidential or Confidential Document or information.

               (c)    Documents. A Protected Person who designates as Highly Confidential

Information any Document that it produced in these Actions must stamp or otherwise mark each

Document containing said information with the designation “HIGHLY CONFIDENTIAL” in a

manner that will not interfere with legibility, including page numbering, or audibility unless such

Document is produced in native electronic format. A Protected Person who designates as

Confidential Information any Document that it produced in this Action must stamp or otherwise

mark each Document containing said information with the designation “CONFIDENTIAL” in a

manner that will not interfere with legibility, including page numbering, or audibility. Any


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Document that contains Confidential Information or Highly Confidential Information may be so

designated in its entirety. To the extent a Document is produced in native form, such Documents

shall be produced in accordance with Paragraph 7(d) below.

               (d)      Electronic Documents and Data. Where a Protected Person produces

Confidential or Highly Confidential electronic files and Documents in native electronic format,

such electronic files and Documents shall be designated by the Protected Person for protection

under this Order by appending to the file names or designators’ information indicating whether the

file contains Highly Confidential Information or Confidential Information, or by any other

reasonable method for appropriately designating such information produced in electronic format,

including by including a slip sheet associated with the electronic file or by making such

designations in reasonably accessible metadata associated with the files. Where Highly

Confidential Information or Confidential Information is produced in electronic format on a disk or

other    medium      that   contains   exclusively      confidential   information,   the   “HIGHLY

CONFIDENTIAL” or “CONFIDENTIAL” designation may be placed on the disk or other

medium. When electronic files or Documents in native form are printed for use at a deposition, in

a court proceeding, or for provision in printed form to any person who may receive such files in

accordance with this Order, the Party printing the electronic files or Documents shall include the

slip sheet identifying the electronic file or Document as “HIGHLY CONFIDENTIAL” or

“CONFIDENTIAL” along with the production number or Bates number and designation

associated with the native file, or shall affix a legend to the printed Document saying “HIGHLY

CONFIDENTIAL” or “CONFIDENTIAL” and include the production number or Bates number

and designation associated with the native file.




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               (e)    Upward Designation of Litigation Materials Produced by Other Parties

or Non-Parties. A Protected Person may upward designate (i.e., change any Litigation Materials

produced without a designation to a designation of “Confidential” or “Highly Confidential” or

designate any Litigation Materials produced as “Confidential” to a designation of “Highly

Confidential”) any Litigation Materials produced by another Protected Person, provided that said

Litigation Materials contains the upward designating Protected Person’s own Confidential

Information or Highly Confidential Information.

               (f)    Upward designation shall be accomplished by providing written notice to

the Parties and the relevant disclosing Protected Person identifying the Litigation Materials to be

re-designated within 120 days from the date of the production containing the materials the

Protected Person seeks to upwardly designate, or 30 days prior to trial in an Action, whichever is

earlier. Such notice must identify (by Bates number, or in the event there is no Bates number, by

other individually identifiable information) each Document the Protected Person wishes to upward

designate, and include an explanation as to why the Protected Person wishes to upward designate

such Documents, and why the existing confidentiality designation is insufficient. The Protected

Person shall also provide an overlay file reflecting the new designations in accordance with

Paragraph 7(g). Failure to upward designate within 120 days, alone, will not prevent a Protected

Person from obtaining the agreement of the disclosing Protected Person to upward designate

certain Litigation Materials or from moving the Court for such relief. Any Party may object to the

upward designation of Litigation Materials pursuant to the procedures set forth in Paragraph 13

regarding challenging designations.

               (g)    Overlay Files. To the extent this Order requires a Protected Person to

provide an overlay file in connection with a new or altered confidentiality designation, that



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Protected Person shall have five business days from the date of the changed designation to produce

an overlay file. In the interim, the Parties shall take care to treat the Documents at issue as if the

new designation applies. For the avoidance of doubt, a Party does not violate this provision where

it in good faith attempts to comply with the new designation.

        Meta’s Proposed Provision; Disputed by Plaintiffs; Google takes no position

               (h)     Limitations to Particular Actions.

                       1.      Limits on Own Productions. Notwithstanding anything else in

this Order, a Protected Person may designate any Litigation Materials that it produces as

produced only in connection with one or more particular Actions if it believes in good faith

that the material is not properly produced more broadly, in which case the Litigation

Materials shall not be disclosed or used in any other Actions. Any Party may object to such

designation according to the provisions of Paragraph 13.

                       2.      Limits on Disclosure of Received Productions. Notwithstanding

anything else in this Order, any Party may assert that the disclosure of Litigation Materials

produced to it be limited only to Parties in one or more particular Actions, if it believes in

good faith that such Litigation Materials are not properly disclosed more broadly. Such

assertion shall be in writing to the other Parties, shall identify the disclosing Person, and

shall specify the particular Actions to which the asserting Party believes that the disclosure

should be limited. Litigation Materials subject to such an assertion shall not be disclosed or

used in any other Actions beyond those specified by the asserting Party. Any Party may

object to such assertion according to the provisions of Paragraph 13. The Parties reserve

their rights to seek relief from the Court from the requirements of this paragraph.




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         8.        In the event that a Party is required by a valid discovery request in any of the

Actions to produce Documents designated by a Non-Party or Party as Highly Confidential

Information or Confidential Information, then the Party shall:

                   (a)      promptly notify in writing the Party seeking the Highly Confidential

Information or Confidential Information that some or all of the information requested is subject to

a confidentiality order;

                   (b)      promptly notify the Non-Party or Party that its Highly Confidential

Information or Confidential Information is being requested and make the information requested

available for inspection by the Non-Party or Party; and

                   (c)      promptly provide the Non-Party or Party with a copy of this Order, the

relevant discovery request(s), and a reasonably specific description of the information requested.

         9.        If the Non-Party or Party fails to object or seek a protective order from this Court

within 14 days of receiving the notice and accompanying information, the Non-Party or Party’s

Highly Confidential Information or Confidential Information responsive to the discovery request

may be produced. If the Non-Party or Party timely seeks a protective order, its Highly Confidential

Information or Confidential Information shall not be produced before a determination by the

Court.6 Absent an order to the contrary, the Non-Party or Party shall bear the burden and expense

of seeking protection in this Court of its Highly Confidential Information or Confidential

Information. The terms of this Order are applicable to information produced by a Non-Party or

Party in the Actions and designated as Highly Confidential Information or Confidential

Information. Such information produced by Non-Parties or Parties in connection with these




6
  The purpose of this provision is to alert the interested parties to the existence of confidentiality rights of a Non-Party
and to afford the Non-Party an opportunity to protect its confidentiality interests in this Court.


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Actions is protected by the remedies and relief provided by this Order. Nothing in these provisions

should be construed as prohibiting a Non-Party or Party from seeking additional protections.

       10.     Unauthorized disclosure of Confidential or Highly Confidential Information

(Plaintiff) or Highly Confidential — Source Code.

               (a)     In the event of a disclosure of any Highly Confidential Information or

Confidential Information (Plaintiff) or Highly Confidential — Source Code to any person(s)

not authorized to receive such disclosure under this Order, the Party who discovers such

unauthorized disclosure shall promptly notify the Protected Person whose material has been

disclosed and provide to such Protected Person all known relevant information concerning the

nature and circumstances of the disclosure. If it is readily discernible which Party is responsible

for the disclosure, the disclosing Party shall also promptly take all reasonable measures to retrieve

the improperly disclosed material and to ensure that no further unauthorized disclosure and/or use

thereof is made; (b) inform the Person(s) to whom unauthorized disclosure was made of all the

terms of this Order; and (c) request such Person(s) execute the Agreement Concerning

Confidentiality in the form of Appendix A attached hereto. If it is not readily discernible which

Party is responsible for the disclosure, the Parties shall work together to: (a) promptly take all

reasonable measures to retrieve the improperly disclosed material and to ensure that no further

unauthorized disclosure and/or use thereof is made; (b) inform the Person(s) to whom unauthorized

disclosure was made of all the terms of this Order, and (c) request such Person(s) execute the

Agreement Concerning Confidentiality in the form of Appendix A attached hereto.

               Google’s Proposed Provisions; Disputed by Plaintiffs and Meta

               (b)     Further, if the source of the disclosure is not readily identifiable or if

the source of the disclosure is in dispute, any Party or several Parties jointly shall, upon



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request and approval of the Court, be permitted to conduct a forensic investigation to

determine the source of the disclosure. If the Court approves such a forensic investigation, a

separate order will be entered approving an investigator, the scope of the investigation, and

how the results of the investigation will be communicated to the Court and the parties. Based

on the results of the investigation, the Court will determine whether the investigative costs

shall ultimately be borne jointly by all Parties or by a Party or Parties determined by the

Court to be responsible for the unauthorized disclosure.

                  (c)    To facilitate any such potential forensic investigation(s) under

Paragraph 10(b), any individuals who are provided Confidential or Highly Confidential

Information and/or materials must agree to the following: (i) that their documents and

communications relating to this Action—and any electronic devices or accounts potentially

containing such documents and communications—may be subject to a forensic investigation:

(ii) that such forensic investigation shall include the collection, copying, and examination of

their electronic devices and accounts including, but not limited to, mobile phones, tablets,

laptops, desktops, email accounts, filesharing accounts, and server- or cloud-based storage

accounts; and (iii) that they will provide a complete list of all electronic devices and accounts

that they may use to communicate regarding this Action or to store documents or

communications relating to this Action, and that they will not use any electronic devices or

accounts not specifically identified for storing, sending, or receiving documents related to

this Action without first amending the list and signing an amended confidentiality agreement

to that effect.


       11.        Unauthorized or inadvertent disclosure shall not change the confidential status of

any disclosed material or waive the Producing Party’s right to maintain the disclosed material as


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containing Highly Confidential Information or Confidential Information (Plaintiff) or Highly

Confidential — Source Code.

C. Privileged Investigation Materials and Litigation Materials

       12.     (a)     The production of privileged or work-product protected Documents,

electronically stored information (“ESI”) or information, whether inadvertent or otherwise, is not

a waiver of the privilege or protection from discovery in this case or in any other federal or state

proceeding. This Order shall be interpreted to provide the maximum protection allowed by Federal

Rule of Evidence 502(d). Federal Rule of Evidence 502(b) shall not apply to any disputes regarding

Investigation Material or Litigation Material.

               (b)     Nothing contained herein is intended to or shall serve to limit a Party’s right

to conduct a review of Documents, ESI or information (including metadata) for relevance,

responsiveness and/or segregation of privileged and/or protected information before production.

               (c)     If the Producing Party becomes aware that it has produced information

protected by the attorney-client privilege or any other privilege or immunity, the Producing Party

will promptly notify each Receiving Party in writing of the production. When a Party receives

notice of such production, it shall return and/or destroy all copies of the material within four days

and, in the case of destruction of material, certify that fact to the Producing Party if requested to

do so. Any notes or summaries referring or relating to such material shall be destroyed

simultaneously therewith.

                                             EITHER

                Google and Meta’s Proposed Provision; Disputed by Plaintiffs

After the Producing Party makes an assertion of privilege, the Receiving Party shall not

thereafter review, circulate, or otherwise use the material (or any notes or summaries



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referring or relating to the material) for any purpose. However, to the extent that the

Receiving Party learned of the contents of the document in issue prior to the Producing

Party’s assertion of privilege, that knowledge (but not the document itself, or excerpts

thereof) may be used for purposes of an in camera privilege challenge.

                                                 OR

                Plaintiffs’ Proposed Provision; Disputed by Google and Meta

Notwithstanding the foregoing, if the Receiving Party intends to challenge the privilege

assertion, the Receiving Party may maintain copies of the Document for purposes of

challenging the privilege assertion. But in no case shall the Receiving Party utilize such

Documents in the Actions for any other purpose, other than challenging the privilege

assertion, until the privilege claim is resolved.


               (d)     If a Receiving Party becomes aware that it is in receipt of information or

material that it knows or reasonably should know is privileged, counsel for the Receiving Party

shall immediately take steps to: (i) stop reading such information or material; (ii) notify counsel

for the Producing Party of such information or material; (iii) collect all copies of such information

and material; and (iv) return to the Producing Party and/or destroy such information or material

(and, in the case of destruction, certify that fact to the Producing Party if requested to do so). Any

notes or summaries referring or relating to such material shall be destroyed simultaneously

therewith.

               (e)     This Order is without prejudice to any Protected Person’s right to assert that

any Investigation Materials or Litigation Materials are subject to any applicable claim of privilege

or protection, including, but not limited to, the attorney-client privilege and the work-product




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doctrine, and it is without prejudice to any Party’s right to contest such a claim of privilege or

protection.

D. Objections to Confidentiality Designations

       13.     Any Party who objects to any confidentiality designation, or part thereof, (the

“Objecting Party”) may, until 30 days before the trial of its Action, provide a written notice to the

Protected Person who made such designation (the “Designating Party”) and to all Parties stating

with particularity the grounds for the objection. All materials objected to shall continue to be

treated as Confidential Information or Highly Confidential Information (Plaintiff) or Highly

Confidential — Source Code pending resolution of the dispute. Within 10 days of the Objecting

Party’s written notice, the Objecting Party and the Designating Party shall attempt to confer to

discuss their respective positions. If the Objecting Party and Designating Party cannot reach an

agreement on the objection within 10 days of the Objecting Party’s written notice (or another

deadline agreed to by the Objecting Party and the Designating Party), the Objecting Party may

raise the dispute to this Court by filing a letter motion and/or motion in accordance with the

applicable rules and/or the Court’s Individual Practices. If the Court finds the designation of

Highly Confidential Information or Confidential Information (Plaintiff) or Highly Confidential

— Source Code to have been inappropriate, the challenged designation shall be considered

rescinded, and the Designating Party shall reproduce the Documents with the revised designations,

along with an overlay file in accordance with Paragraph 7(g). Notwithstanding anything else

contained in this Order, the Parties reserve their rights under Fed. R. Civ. P. 37.

E. Disclosure of Highly Confidential Information or Confidential Information

       14.     Highly Confidential Information may be disclosed only to the following Persons:




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               (a)     the Court and all Persons assisting the Court in the Actions, including law

clerks, court reporters, and stenographic or clerical personnel;

               (b)     Outside Counsel for a Party, including any attorneys, paralegals, and other

professional personnel (including support and IT staff) that such outside counsel assigns to the

Actions whose functions require access to the information (but not any employee of a Party);

               (c)     State Plaintiffs’ Counsel and paralegals, and other professional personnel

(including support and IT staff) that such State Plaintiff’s Counsel assign to the Actions whose

functions require access to the information;

               (d)     Designated In-House Counsel of a Party (who has been properly designated

pursuant to the procedures set forth in Paragraph 20 below) who are not involved in Competitive

Decision-Making at or on behalf of the Party; to qualify for access under this subpart, in-house

litigation counsel shall first execute an In-House Counsel Agreement Concerning Confidentiality

in the form of Appendix B attached hereto; Outside Counsel for a Party shall maintain executed

versions of the agreements executed by Designated In-House Counsel of that Party or any non-

Party Protected Person. A Party shall promptly report any confirmed or suspected unauthorized

use or disclosure of Highly Confidential Information to the other Parties;

               (e)     outside vendors or service providers (such as copy-service providers,

outside court reporters retained for depositions, document-management consultants, or lawyers or

law firms for document review other than Outside Counsel) and agents or independent contractors

retained by a Party to assist that Party in an Action provided that they shall first execute an

Agreement Concerning Confidentiality agreeing to be bound by the terms of this Confidentiality

Order in the form of Appendix A attached hereto;




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              (f)     any mediator, arbitrator, or special master that the Parties engage in this

Action or that this Court appoints provided that they shall first execute an Agreement Concerning

Confidentiality agreeing to be bound by the terms of this Confidentiality Order in the form of

Appendix A attached hereto;

              (g)     any Person who the Highly Confidential Information itself indicates, or who

the Receiving Party has a good-faith basis to believe, was the author, addressee, recipient,

custodian, or source of the Document or Highly Confidential Information.

              (h)     any Person who the Highly Confidential Information itself indicates, or who

the Receiving Party has a good-faith basis to believe, had (Meta/Google) lawful access to the

Document or the Highly Confidential Information;

                                           EITHER

                            Meta and Google’s Proposed Provision

              (i)     any current employee of the Designating Party who is a named

executive officer or who is testifying in his or her capacity as corporate representative for

purposes of a deposition under Fed. R. Civ. P. 30(b)(6);

                                              OR

                                Plaintiffs’ Proposed Provisions

              (i)     any Person who the Highly Confidential Information itself indicates,

or who the Receiving Party has a good-faith basis to believe, had knowledge of the Highly

Confidential Information;

              (j)     any current employee of the Designating Party;




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                  (j)      any Person retained by a Party to serve as a testifying or consulting expert

in these Actions,7 including any employees of the firm with which the expert or consultant is

associated and independent contractors who assist the expert’s work in the Actions, provided that

they shall first execute an Agreement Concerning Confidentiality agreeing to be bound by the

terms of this Confidentiality Order in the form of Appendix A attached hereto;

                  (k)      outside trial consultants (including, but not limited to, graphics consultants),

provided that they shall first execute an Agreement Concerning Confidentiality agreeing to be

bound by the terms of this Confidentiality Order in the form of Appendix A attached hereto;

                  (l)      Any Person as may be authorized by written agreement of the Designating

Party, verbal agreement of the Designating Party on the record at a deposition or Court hearing, or

by order of the Court.

         15.      Confidential Information may be disclosed only to the following Persons:

                  (a)      the Court and all Persons assisting the Court in the Actions, including law

clerks, court reporters, and stenographic or clerical personnel;

                  (b)      Outside Counsel for a Party, including any attorneys, paralegals, and other

professional personnel (including support and IT staff) that such outside counsel assigns to the

Actions whose functions require access to the information (but not any employee of the Party)

                  (c)      State Plaintiffs’ Counsel and paralegals, and other professional personnel

(including support and IT staff) that such State Plaintiff’s Counsel assign to the Actions whose

functions require access to the information;

                  (d)      the officers, directors, and employees (including In-House Counsel) of a

Party to whom disclosure is reasonably necessary for this litigation and who have signed the


7
  This provision does not apply to any Person retained by a Party to serve as a testifying or consulting expert, where
such person is also an employee of a Party.


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Agreement Concerning Confidentiality agreeing to be bound by the terms of this Confidentiality

Order in the form of Appendix A attached hereto8;

                  (e)     outside vendors or service providers (such as copy-service providers,

outside court reporters retained for depositions, document-management consultants, or lawyers or

law firms for document review other than Outside Counsel) and agents or independent contractors

retained by a Party to assist that Party in the Actions provided that they shall first execute an

Agreement Concerning Confidentiality agreeing to be bound by the terms of this Confidentiality

Order in the form of Appendix A attached hereto;

                  (f)     any mediator, arbitrator, or special master that the Parties engage in the

Actions or that this Court appoints provided that they shall first execute an Agreement Concerning

Confidentiality agreeing to be bound by the terms of this Confidentiality Order in the form of

Appendix A attached hereto;

                  (g)     any Persons who the Confidential Information itself indicates, or who the

Receiving Party has a good-faith basis to believe, was the author, addressee, recipient, custodian,

or source of the Document or Confidential Information;

                  (h)      any Persons who the Confidential Information itself indicates, or who the

Receiving Party has a good faith basis to believe had (Meta/Google) lawful access to the

Document or Confidential Information;

                   Plaintiffs’ Proposed Provision; Disputed by Meta and Google

          (i)     any Persons who the Confidential Information itself indicates, or who the

Receiving Party has a good-faith basis to believe had knowledge of the Confidential

Information;



8
    Designated In-House Counsel who have executed Appendix B need not also execute Appendix A.


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                  (i)      any Person whose statements or communications are quoted, recounted, or

summarized in said Party’s Documents or Confidential Information, except that only those

portions of the Documents or Confidential Information quoting, recounting, or summarizing a

Person’s statements or communications may be disclosed to that Person;

                  (j)      any current employee of the Designating Party

             Meta and Google’s Proposed Addition to ¶15(j); Disputed by Plaintiffs

[… of the Designating Party] who is a named executive officer or who is testifying in his or

her capacity as corporate representative for purposes of a deposition under Fed. R. Civ. P.

30(b)(6);

                  (k)      outside trial consultants (including, but not limited to, graphics consultants)

provided that they shall first execute an Agreement Concerning Confidentiality agreeing to be

bound by the terms of this Confidentiality Order in the form of Appendix A attached hereto;

                  (l)      any Person retained by a Party to serve as a testifying or consulting expert

in these Actions,9 including any employees of the firm with which the expert or consultant is

associated and independent contractors who assist the expert’s work in the Actions, provided that

they shall first execute an Agreement Concerning Confidentiality agreeing to be bound by the

terms of this Confidentiality Order in the form of Appendix A attached hereto;

                  (m)      any Person as may be authorized by written agreement of the Designating

Party, verbal agreement of the Designating Party on the record at a deposition or Court hearing, or

by order of the Court.




9
  This provision does not apply to any Person retained by a Party to serve as a testifying or consulting expert, where
such Person is also an employee of a Party.


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       16.     The Parties shall have the right to seek redress from this Court to enforce the

provisions of the Agreement Concerning Confidentiality set forth in Appendix A or the In-House

Counsel Agreement Concerning Confidentiality set forth in Appendix B with respect to any Person

bound by this Confidentiality Order.

       17.     Each Person described in Paragraphs 14 and 15 of this Order to whom information

designated as Highly Confidential Information or Confidential Information is disclosed must not

disclose that Highly Confidential Information or Confidential Information to any other Person,

except as permitted in this Order.

       18.     Nothing in this Order:

               (a)    limits a Protected Person’s use or disclosure of its own information

designated as Highly Confidential Information or Confidential Information;

               (b)    prevents disclosure of Highly Confidential Information or Confidential

Information with the consent of the Protected Person that designated the material as Confidential

or Highly Confidential;

               (c)    prevents disclosure by a Party of Highly Confidential Information or

Confidential Information: (i) that is or has become publicly known through no fault of that Party;

(ii) lawfully acquired by or known to that Party independent of receipt during the Investigation or

in discovery in the Actions; (iii) previously produced, disclosed and/or provided to that Party

without an obligation of confidentiality and not by inadvertence or mistake; or (iv) pursuant to an

order of a court or as may be required by regulation;

               (d)    prevents counsel from rendering advice to his or her client with respect to

this matter or from generally referring to or relying upon Confidential Information or Highly




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Confidential Information in rendering such advice so long as counsel does not specifically disclose

the substance of the Confidential Information or Highly Confidential Information; or

               (e)     prevents State Plaintiffs’ retention, use, or disclosure of Investigation

Materials outside the context of the Actions to the extent permitted by applicable law or regulation

governing such pre-complaint discovery, or for law enforcement purposes, or as required by law,

court order, or regulation. Any such disclosures shall be limited to those permitted by applicable

law or regulation. State Plaintiffs will not disclose any Litigation Materials produced only during

the pendency of the Actions to any Non-Party, except as ordered by a court or as may be required

by regulation and subject to Paragraph 30. If Investigation Materials or Litigation Materials are

requested for disclosure under a state’s public information act or the equivalent, this Order

prohibits disclosure to the extent the state’s public information act or the equivalent provides an

exception for disclosure of information protected by court order.

F. Disclosure of Highly Confidential Information to Designated In-House Counsel for
   Parties Based on Need

       19.     A Party may at any time before the trial of its Action request disclosure of Highly

Confidential Information to additional Designated In-House Counsel by consent of the

Designating Party or motion with the Court. The Party must meet and confer with the Designating

Party to try to resolve the matter by agreement within seven days of the written notice. If no

agreement is reached, the Party may file a motion with the Court. The other Parties and/or the

Designating Party will have seven days to respond to such motion. The Party will not disclose any

Highly Confidential Information to the additional Designated In-House Counsel pending

resolution of the dispute. If the Court finds that the additional Designated In-House Counsel has a

particularized need for access to the Highly Confidential Information that outweighs the risk of




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harm to the Designating Party or the public interest, the Party will be permitted to disclose the

Highly Confidential Information to the additional Designated In-House Counsel.

G. Challenges to Designated In-House Counsel

       20.     Unless otherwise ordered by the Court or agreed to in writing by the Protected

Person, before disclosing any information designated as Highly Confidential Information to a

Party’s Designated In-House Counsel, the Party must submit in writing to the other Parties and the

Protected Person a written statement that: (1) sets forth the full name of each Designated In-House

Counsel and the city and state of his or her residence, and (2) describes each Designated In-House

Counsel’s primary job duties and responsibilities in sufficient detail to determine if each

Designated In-House Counsel is involved in Competitive Decision-Making. If at any time, a Party

decides to replace a Designated In-House Counsel, the Party must submit a written statement

regarding its proposed replacement Designated In-House Counsel pursuant to this paragraph and

follow the procedures described in Paragraphs 21 and 22.

       21.     A Party may disclose Highly Confidential Information to its Designated In- House

Counsel unless the Party receives a written objection from any Protected Person within 10 days of

receiving notice as described in Paragraph 20. If the Party replaces any of its Designated In-House

Counsel pursuant to Paragraph 20, the Party may disclose Highly Confidential Information to its

Designated In-House Counsel unless such Party receives a written objection from another Party or

any Protected Person within 10 days of receiving the Party’s written statement. Any objection to

Designated In-House Counsel must set forth in detail the grounds on which it is based.

       22.     If a Party receives a timely written objection, it must meet and confer with the

objecting Party or any Protected Person to try to resolve the matter by agreement within seven

days of the written objection. If no agreement is reached, the objecting Party and any Protected

Person will then have seven days to file a motion with the Court objecting to Designated In-House

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Counsel. The Party will not disclose any Highly Confidential Information to the proffered

Designated In-House Counsel pending resolution of the dispute. If the Court finds the proffered

Designated In-House Counsel to properly qualify as Designated In-House Counsel pursuant to

Paragraph 14(d), the Party will be able to disclose Highly Confidential Information to the proffered

Designated In-House Counsel in accordance with Paragraph 14.

H. Use of Information Designated Highly Confidential or Confidential in this Action

       23.     In the event that any Highly Confidential Information or Confidential Information

is contained in any pleading, motion, exhibit, or other paper filed or to be filed with the Court, the

Court shall be so informed by the Party filing such papers, and such papers shall be filed under

seal, in accordance with the Court’s Individual Practice 5(B), as modified by the terms of this

Order. The Parties agree to act in good faith to limit the need to seal Documents filed in this Court.




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        24.      Filing Highly Confidential Information or Confidential Information Under

Seal.

                 (a)      Notwithstanding the Court’s Individual Practices, unless otherwise ordered,

a Party’s filing containing or based, in whole or in part, upon Highly Confidential Information or

Confidential Information shall be filed entirely under seal without the need of a further order from

the Court.10 For the avoidance of doubt, if a filing is composed of multiple documents, only those

documents containing or based upon Highly Confidential Information or Confidential Information,

in whole or in part, shall be filed under seal. Contemporaneously with making a filing containing

or based upon Highly Confidential Information or Confidential Information, the filing Party shall

provide Outside Counsel (who has filed an appearance in the Actions) for a Party with a wholly

unredacted copy of the filing via ECF or email.

                 (b)      Within three days of the filing containing or based upon Highly

Confidential Information or Confidential Information, the filing Party shall then file a motion to

seal the filing. The motion to seal shall also include (1) a public version of the filing in which the

Highly Confidential Information or Confidential Information has been redacted from public view,

or a slip sheet where the entire document is filed under seal; and (2) a sealed version of the filing

with any redactions highlighted. Further, at the time of the filing of the motion to seal, the filing

Party shall send to Outside Counsel (who has appeared in the Actions) for each Party whose Highly

Confidential Information or Confidential Information is included in the filing and to outside

counsel for each Non-Party (or in the case of a Non-Party not represented by outside counsel, to

the Non-Party itself) whose Highly Confidential Information or Confidential Information is

included in the filing (together, the “Impacted Parties”) an email attaching a version of the filing


10
  The filing Party may elect not to file its own Highly Confidential Information or Confidential Information under
seal.


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highlighting the redacted material based upon that Impacted Party’s Highly Confidential

Information or Confidential Information and maintaining all other redactions. Outside Counsel

for each Party (who has appeared in the Actions) shall be copied on each of the emails described

in the prior sentence.

               (c)       Within 14 days of the date that the motion to seal is filed, Parties and Non-

Parties may file any response opposing or supporting the motion to seal, and any replies shall be

due 7 days later. To the extent the Impacted Party seeks to seal portions of the filing, that Party

shall file a version of the filing under seal with highlighting to indicate the content that the

Impacted Party seeks to seal.

               (d)       Any Party or Non-Party seeking to maintain Highly Confidential

Information or Confidential Information under seal shall accompany its motion to seal or response

in support of sealing with an affidavit or affidavits and a memorandum of law, demonstrating that

the standards for sealing have been met and specifically addressing the applicability of Lugosch v.

Pyramid Co. of Onondaga, 435 F.3d 110, 119-120 (2d Cir. 2006) and any other controlling

authority. The Parties agree to work in good faith to negotiate extensions of time in the event

additional time is necessary to file any response or reply. Nothing herein is intended to alter or

modify the applicability of Fed. R. Civ. P. 5.2 to this case. The redactions expressly authorized by

Rule 5.2 may be made without further application to the Court.

       25.     Parties shall give the other Parties notice (a minimum of two business days) if they

reasonably expect a deposition, hearing, or other proceeding to include Highly Confidential

Information so that the other parties can ensure that only authorized individuals are present during

the portions of those proceedings where the Highly Confidential Information may be used. The




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use of a Document as an exhibit at a deposition shall not in any way affect its designation as Highly

Confidential Information or Confidential Information.

I. Use of Highly Confidential Information or Confidential Information at Trial

       26.     Disclosure at trial or at any evidentiary hearing of any Document, testimony, or

other material designated as Highly Confidential Information or Confidential Information will be

governed pursuant to a separate court order. Unless otherwise directed by the Court, the Parties

shall meet and confer and submit a recommended order outlining those procedures no later than

30 calendar days before the first day of trial or any evidentiary hearing. Upon the filing of a

proposed order governing the disclosure of Highly Confidential Information or Confidential

Information at trial or any evidentiary hearing, the Parties shall provide notice of such order to

Non-Parties whose Highly Confidential Information or Confidential Information is expected to be

used at trial or any evidentiary hearing.

       27.     Unless otherwise provided for in this Order, all Highly Confidential Information

and Confidential Information produced by a Party or a Non-Party in any of the Actions shall be

used solely for the conduct of these Actions and shall not be used by a Party, Non-Party, or any

Person subject to this Order, including counsel for a Party or Non-Party, for any business,

commercial, competitive, personal, or other purpose. Such Highly Confidential and Confidential

Information may only be disclosed under the conditions described in this Order.

J. Investigation Materials or Litigation Materials Subpoenaed or Ordered Produced in
   Other Litigation

       28.     If a Party is served with a lawful subpoena or a court order issued by a court,

arbitral, administrative, or legislative body, or with a court order issued in other litigation that

compels disclosure of any information or items designated in any of the Actions as Confidential

or Highly Confidential that Party must:


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                   (a)      promptly notify in writing the Designating Party (such notification shall

include a copy of the subpoena or court order);

                   (b)      promptly notify in writing the Person or entity who issued the subpoena or

caused the order to issue in the other litigation, that some or all of the material covered by the

subpoena or order is subject to this Order (such notification shall include a copy of this Order);

and

                   (c)      cooperate with respect to all reasonable procedures sought to be pursued by

the Designating Party whose Highly Confidential or Confidential Information may be affected.11

         29.       If the Designating Party timely12 seeks a protective order, the Party served with the

subpoena or court order shall not produce any information designated in these Actions as

Confidential or Highly Confidential before a determination by the court from which the subpoena

or order issued, unless the Party has obtained the Designating Party’s permission. The Designating

Party shall bear the burden and expense of seeking protection in that court of its Confidential

Information or Highly Confidential Information – and nothing in these provisions should be

construed as authorizing or encouraging a Receiving Party in these Actions to disobey a lawful

directive from another court.

         30.       If, under any public records or other relevant law, any Investigation Materials or

Litigation Materials are subject to any form of compulsory process in a Plaintiff State or is

demanded from a Plaintiff State, such Plaintiff State shall notify in writing the Designating Party

whose Investigation Materials or Litigation Materials may be affected within 10 business days of


11
   The purpose of imposing these duties is to alert the interested parties to the existence of this Order and to afford the
Designating Party in this case an opportunity to try to protect its confidentiality interests in the court or other tribunal
from which the subpoena or order issued.
12
   The Designating Party shall have at least 14 days from the service of the notification pursuant to Paragraph 28(a) to
seek a protective order, unless the subpoena or order requires a response within a period shorter than 14 days, or unless
a shorter period applies under the rules of the court or other tribunal from which the subpoena or order issued, in which
case such rules shall apply.


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receiving the process or demand and before producing Investigation Materials or Litigation

Materials, unless state statute, or court order or other public adjudicatory body requires that the

Plaintiff State produce the Investigation Materials or Litigation Materials in a shorter time frame.

The State shall not produce the Investigation Materials or Litigation Materials in response to such

compulsory process or public records request unless the Plaintiff State deems that it is required by

law to do so and provides 10 business days’ notice of its intent to do so to the Designating Party,

unless state statute, or court order or other public adjudicatory body requires that the Plaintiff State

produce the Investigation Materials or Litigation Materials in a shorter time frame. However, if a

Plaintiff State denies a public records or similar request and the denial is not challenged, the

Plaintiff State does not need to provide notice pursuant to this paragraph. If Investigation Materials

or Litigation Materials are requested for disclosure under a state’s public information act or the

equivalent, this Order prohibits disclosure to the extent the state’s public information act or the

equivalent provides an exception for disclosure of information protected by court order. Nothing

contained herein shall alter or limit the obligations of a Plaintiff State that may be imposed by

statute or court order regarding the disclosure of Documents and information supplied to the state.

K. Procedures upon Termination of this Action

        31.     The obligations imposed by this Order survive the termination of the Actions unless

the Court, which shall retain jurisdiction to resolve any disputes arising out of this Order, orders

otherwise. Within 90 days after the expiration of the time for appeal of an order, judgment, or

decree terminating an Action, all Persons, other than State Plaintiffs, in such Action having

received information designated as Highly Confidential Information or Confidential Information

(Plaintiff) or Highly Confidential — Source Code must return all copies thereof to the Protected

Person (or the Protected Person’s counsel if represented by counsel) that produced it or destroy or



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delete all copies of such Highly Confidential Information or Confidential Information (Plaintiff)

or Highly Confidential — Source Code and certify that fact in writing to the Party or Protected

Person. Within 90 days after the expiration of the time for appeal of an order, judgment, or decree

terminating an Action, all State Plaintiffs in such Action having received information designated

as Highly Confidential Information or Confidential Information (Plaintiff) or Highly

Confidential — Source Code must, to the extent permitted by State Plaintiffs’ retention

schedules, either make a good-faith effort to return all copies thereof to the Protected Person (or

the Protected Person’s counsel if represented by counsel) that produced it or destroy or delete all

copies of such Highly Confidential Information or Confidential Information (Plaintiff) or Highly

Confidential — Source Code.

       32.     Counsel for the Parties will be entitled to retain court papers and exhibits,

deposition transcripts and exhibits, hearing transcripts and exhibits, trial transcripts and exhibits,

correspondence (including internal correspondence and email) and work product, provided that

the Parties and their counsel do not disclose the portions of these materials containing information

designated as Highly Confidential Information or Confidential Information to any Person, except

pursuant to court order or agreement with the Protected Person that produced the Highly

Confidential Information or Confidential Information or as otherwise permitted herein. All Highly

Confidential Information and Confidential Information returned to the Parties or their counsel by

the Court likewise must be disposed of in accordance with this paragraph. Nothing in this

paragraph, however, restricts the rights of the Parties under Paragraphs 14 and 15 of this Order.

L. New Parties to The Actions

       33.     In the event that additional Persons or entities become parties to an Action, such

new Parties shall not have access to Confidential Information or Highly Confidential Information


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(Plaintiff) or Highly Confidential — Source Code produced by or obtained from any Protected

Person until an authorized person executes, on behalf of the new Party, an Agreement Concerning

Confidentiality agreeing to be bound by the terms of this Confidentiality Order in the form of

Appendix A attached hereto.

M. Non-Parties

       34.      Any Party, in conducting discovery from Non-Parties in connection with the

Actions, shall provide any Non-Party from which it seeks discovery with a copy of this Order so

as to inform each such Non-Party of his, her or its rights herein. If a Non-Party provides discovery

to any Party in connection with the Actions, the provisions of this Order shall apply to such

discovery as if such discovery were being provided by a Party. Under such circumstances, if the

Non-Party agrees to be bound by the terms of this Confidentiality Order in the form of Appendix

A attached hereto, the Non-Party shall have the same rights and obligations under the Order as

held by the Parties, except that, other than with leave of court, in no circumstance may a Party’s

Highly Confidential Information be disclosed to a Non-Party without the consent of that Party.

However, a Party’s Highly Confidential Information may be shared with a former employee of

that Party if the former employee may view the Highly Confidential Information pursuant to

Paragraph 14.

N. Reservation of Rights

       35.      Nothing contained in this Order or any designation of confidentiality hereunder, or

any failure to make such designation, shall be used or characterized by any Party as an admission

by a Party or a Party opponent. Nothing in this Order shall be deemed an admission that any

particular information designated as Confidential Information or Highly Confidential Information

(Plaintiff) or Highly Confidential — Source Code is entitled to protection under the Order,



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Federal Rule of Civil Procedure 26(c), or any other law. Nothing in this Order shall be construed

as granting any Person a right to receive specific Confidential Information or Highly Confidential

Information (Plaintiff) or Highly Confidential — Source Code where a court has entered an

order precluding that Person from obtaining access to that information. The Parties specifically

reserve the right to challenge the designation of any particular information as Confidential

Information or Highly Confidential Information (Plaintiff) or Highly Confidential — Source

Code and agree that no Party waives any right it otherwise would have to object to disclosing or

producing any information or item on any ground not addressed in this Order. Similarly, no Party

waives any right to object on any ground to introduction or use as evidence of any of the

Investigation Materials or Litigation Materials covered by this Order.

O. Standard of Care

       36.     The recipient of any Confidential Information or Highly Confidential Information

(Plaintiff) or Highly Confidential — Source Code shall maintain such material in a secure and

safe area and shall exercise a standard of due and proper care with respect to the storage, custody,

use, and/or dissemination sufficient to safeguard against unauthorized or inadvertent disclosure of

such material. Confidential Information or Highly Confidential Information (Plaintiff) or Highly

Confidential — Source Code shall not be copied, reproduced, extracted or abstracted, except for

the purpose of the conduct of an Action. All such copies, reproductions, extractions, and

abstractions shall be subject to the terms of this Order and be clearly marked to reflect their

designation.

P. Right to Seek Modification

       37.     Nothing in this Order limits any Person, including members of the public, a Party,

or a Protected Person, from seeking: (1) further or additional protections of any of its materials, or



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(2) modification of this Order upon motion duly made pursuant to the Rules of this Court,

including, without limitation, an order that certain material not be produced at all or is not

admissible evidence in any Action or any other proceeding.

Q. The Privacy Act

       38.     Any order of this Court requiring the production of any Document, information, or

transcript of testimony constitutes a court order within the meaning of the Privacy Act, 5 U.S.C. §

552a(b)(11).

R. Persons Bound by This Order

       39.     This Order shall be binding on the Parties to the Actions, their attorneys, and their

successors, personal representatives, administrators, assigns, parents, subsidiaries, divisions,

affiliates, employees, agents, retained consultants and experts, and any persons or organizations

over which they have direct control, and any Non-Party, to the extent such Non-Party has agreed

to be bound by this Order.

       40.     All persons subject to this Order are reminded that this Order may be enforced by

the Court’s full powers of criminal and civil contempt.


       SO ORDERED.

       Dated: New York, New York
       April __, 2022



                                                     ____________________________________
                                                     P. Kevin Castel
                                                     United States District Judge




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                                         APPENDIX A

                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK




 In re Google Digital Advertising Antitrust           Civil Action No. 21-MD-3010 (PKC)
 Litig.



                     AGREEMENT CONCERNING CONFIDENTIALITY

       I,                             , am employed by

as                                            .

       I hereby certify that:

       1.      I have read the Confidentiality Order (“Confidentiality Order”) entered in the

above-captioned action (this “Action”) and understand its terms.

       2.      I agree to be bound by the terms of the Confidentiality Order entered in this Action.

I agree to use the information provided to me only as permitted in this Confidentiality Order.

       3.      I understand that my failure to abide by the terms of the Confidentiality Order

entered in this Action may subject me to civil and criminal penalties for contempt of court.

               Google’s Proposed Provision; Disputed by Plaintiffs and Meta

       4.      In addition, I understand that, as described in Paragraph 10 of the

Confidentiality Order, in the event of an unauthorized disclosure of Highly Confidential

Information or Confidential Information, my documents and communications relating to

this Action—and any electronic devices or accounts potentially containing such documents

and communications—may be subject to a forensic investigation. Such forensic investigation

shall include the collection, copying, and examination of my electronic devices and accounts


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including, but not limited to, mobile phones, tablets, laptops, desktops, email accounts,

filesharing accounts, and server- or cloud-based storage accounts.

       5.      To aid the Court, counsel, and any potential forensic investigators in the event

of an unauthorized disclosure, I have provided below a complete list of all electronic devices

and accounts which may contain documents or communications relating to this Action:

________________________________________________________________
________________________________________________________________
________________________________________________________________
________________________________________________________________
________________________________________________________________
________________________________________________________________

       6.      I submit to the jurisdiction of this Court, and specifically the United States District

Court for the Southern District of New York, solely for the purpose of enforcing the terms of the

Confidentiality Order entered in the above-captioned action and freely and knowingly waive any

right I may otherwise have to object to the jurisdiction of said court.




                                                         __________________________________
                                                                                   Signature


                                                         __________________________________
                                                                                       Date




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                                         APPENDIX B

                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK




 In re Google Digital Advertising Antitrust           Civil Action No. 21-MD-3010 (PKC)
 Litig.



            IN-HOUSE COUNSEL AGREEMENT CONCERNING CONFIDENTIALITY

       I,                            , am employed by

as                                            .

       I hereby certify that:

       1.      I have read the Confidentiality Order (“Confidentiality Order”) entered in the

above-captioned action (this “Action”) and understand its terms.

       2.      I agree to be bound by the terms of the Confidentiality Order entered in this Action

and agree that, in my role as in-house litigation counsel for the above Party company, I meet the

requirements of Paragraph 14(d) of this Confidentiality Order, and agree to use the information

provided to me only as explicitly provided in this Confidentiality Order.

       3.      I understand that my failure to abide by the terms of the Confidentiality Order

entered in this Action will subject me, without limitation, to civil and criminal penalties for

contempt of court.

                Google’s Proposed Provision; Disputed by Plaintiffs and Meta

       1.      In addition, I understand that, as described in Paragraph 10 of the

Confidentiality Order, in the event of an unauthorized disclosure of Highly Confidential

Information or Confidential Information, my documents and communications relating to


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this Action—and any electronic devices or accounts potentially containing such documents

and communications—may be subject to a forensic investigation. Such forensic investigation

shall include the collection, copying, and examination of my electronic devices and accounts

including, but not limited to, mobile phones, tablets, laptops, desktops, email accounts,

filesharing accounts, and server- or cloud-based storage accounts.

       2.      To aid the Court, counsel, and any potential forensic investigators in the event

of an unauthorized disclosure, I have provided below a complete list of all electronic devices

and accounts which may contain documents or communications relating to this Action:

________________________________________________________________
________________________________________________________________
________________________________________________________________
________________________________________________________________
________________________________________________________________
________________________________________________________________

       4.      I submit to the jurisdiction of this Court, and specifically the United States District

Court for the Southern District of New York, solely for the purpose of enforcing the terms of the

Confidentiality Order entered in the above-captioned action and freely and knowingly waive any

right I may otherwise have to object to the jurisdiction of said court.


                                                         __________________________________
                                                                                   Signature


                                                         __________________________________
                                                                                       Date




                                                  2
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     Remainder of document is Plaintiffs’ Proposed Source Code Appendix; Disputed by
                             Google; Meta takes no position

                                        Appendix C

     Provisions Applicable to Production and Review of Defendant Google’s Source Code



A.      Restrictions on those who may view Source Code.


        1.     Unless otherwise ordered by the Court or permitted in writing by the

Producing Party, a Party that has received Highly Confidential – Source Code may disclose

any information or item designated Highly Confidential – Source Code only to:

the Court and its personnel, including any technical advisor (if one is appointed), the jury,

court reporters, videographers recording testimony or other proceedings in this Action;

(a)the Outside Counsel of Record for a Party and/or State Plaintiffs’ Counsel, as well as

employees of said Outside Counsel of Record and/or State Plaintiffs’ Counsel to whom it is

reasonably necessary to disclose the information for this litigation and who have signed the

Agreement Concerning Confidentiality in the form of Appendix A attached hereto;



(a) experts of the Party in receipt of Highly Confidential – Source Code: (1) to whom

disclosure is reasonably necessary for that Party’s Action; (2) who have signed the

Agreement Concerning Confidentiality in the form of Appendix A attached hereto; and (3)

as to whom the procedures set forth in paragraph 2, below, have been followed;

(b) stenographic reporters, videographers and their respective staff who have signed the

Agreement Concerning Confidentiality in the form of Appendix A attached hereto and are

transcribing or videotaping a deposition wherein Highly Confidential – Source Code



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information or items are being discussed, provided that such reporters and videographers

shall not retain or be given copies of any portions of the Source Code, which if used during

a deposition, will not be attached as an exhibit to the transcript but instead shall be identified

only by its production Bates numbers; and

(c) while testifying at a deposition or trial in this action only: (i) any current officer, director

or employee of the Party which has produced Highly Confidential – Source Code or original

source of the information; (ii) any Person designated by the Producing Party to provide

testimony pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure; and/or (iii) any

person who authored, previously received (other than in connection with this Action), or was

directly involved in creating, modifying, or editing the Source Code information or items, as

evident from its face or reasonably certain in view of other testimony or evidence. Persons

authorized to view Source Code information or items pursuant to this subparagraph shall

not retain or be given copies of the Source Code information or items except while so

testifying; and

(d) The Receiving Party’s Outside Counsel of Record shall maintain a log of all copies of the

Source Code (received from a Producing Party) that are delivered by the Receiving Party to

any qualified person under Paragraphs 1(a)-(e) above. The log shall include the names of the

recipients and reviewers of copies and locations where the copies are stored. Upon request

by the Producing Party, the Receiving Party shall provide reasonable assurances and/or

descriptions of the security measures employed by the Receiving Party and/or qualified

Person that receives a copy of any portion of the Source Code.




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B.     Process for Requesting to Disclose Highly Confidential – Source Code


       2.     Unless otherwise ordered by the Court or agreed to in writing by the

Designating Party, a Party that seeks to disclose to an expert any information or item that

has been designated Highly Confidential – Source Code pursuant to paragraph 1(v) of the

Confidentiality Order first must make a written request to the Producing Party that:

(1) identifies the general categories of Source Code information that the Party who wishes to

disclose the Source Code seeks permission to disclose to the expert; (2) sets forth the expert’s

full name and the city and state of his or her primary residence; (3) attaches a copy of the

expert’s current résumé; (4) identifies the expert’s current employer(s); (5) identifies each

person or entity for whom the expert has provided professional service, including in

connection with a litigation, at any time during the preceding five years;13 and (6) identifies

(by name and number of the case, filing date, and location of court) any litigation in

connection with which the expert has offered expert testimony, including through a

declaration, report, or testimony at a deposition or trial, during the preceding five years.

       3.     A Party that makes a request and provides the information specified in the

preceding paragraph may disclose the subject Source Code to the identified expert unless,

within seven days of delivering the request, that Party receives a written objection from the

Producing Party. A Producing Party’s objection must set forth in detail the grounds on

which it is based. The Producing Party’s consent to the disclosure of Source Code to an




       13
         If the expert believes any of this information is subject to a confidentiality
obligation to a Non-Party, then the expert should provide whatever information the expert
believes can be disclosed without violating any confidentiality agreements, and the Party
seeking to disclose to the expert shall be available to meet and confer with the Producing
Party regarding any such engagement.


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expert shall not be unreasonably withheld, and its objection must be based on that party’s

good-faith belief that disclosure of its Source Code to the expert will result in specific business

or economic harm to that Party.

       4.      A Party that receives a timely written objection must meet and confer with the

Producing Party (through direct voice to voice dialogue) to try to resolve the matter by

agreement within seven days of the written objection. If after consideration of the objection,

the Party desiring to disclose the Source Code to an expert refuses to withdraw the expert or

consultant, that party shall provide notice to the objecting Party. Thereafter, the objecting

Party shall move the Court, within three business days of receiving such notice, for a ruling

on its objection. A failure to file a motion within the three business day period, shall operate

as an approval of disclosure of the Source Code to the expert.

       5.      The objecting Party shall have the burden of showing to the Court “good

cause” for preventing the disclosure of its Source Code to the expert. This “good cause” shall

include a particularized showing that: (1) the Source Code is Highly Confidential, (2)

disclosure of the Source Code likely would result in a clearly defined and serious injury to

the objecting Party’s business, (3) the proposed expert is in a position to allow the Source

Code to be disclosed to or become known by the objecting Party’s competitors, and (4) that

the expert’s access to Source Code may create other confidentiality or legal risks in

connection with other patent-related activities or interests tied to the expert.

       C. Restrictions on those who may see Source Code


       6.      Absent written consent from the Producing Party, any Persons who receive

access to Source Code information shall not be involved in the prosecution of patents or

patent applications relating to the subject matter of the Source Code information that is



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inspected, before any foreign or domestic agency, including the United States Patent and

Trademark Office (“the Patent Office”). For purposes of this paragraph, “prosecution”

includes directly or indirectly drafting, amending, advising, or otherwise affecting the scope

or maintenance of patent claims. To avoid any doubt, “prosecution” as used in this

paragraph does not include representing a Party challenging a patent before a domestic or

foreign agency (including, but not limited to, a reissue protest, ex parte reexamination or

inter partes reexamination). This Prosecution Bar shall begin when access to Source Code

information is first received by the affected individual and shall end two years after the

individual has last viewed the Highly Confidential-Source Code. For the avoidance of doubt,

the restrictions set forth in this paragraph shall not apply to an individual who did not

conduct an in-person inspection pursuant to 8 and whose access to Highly Confidential-

Source Code information consists exclusively of notes, summaries, excerpts, printed pages

or other Source Code Documents.

       7.     Absent written consent from the Producing Party, any individual who receives

access to Source Code information designated by the Producing Party shall not: (i)

participate in the acquisition of patents or patent applications relating to the subject matter

of the Source Code information that is inspected for the purposes of assertion against the

Party which has produced the Source Code; or (ii) advise or counsel clients regarding the

same. This Acquisition Bar shall begin when access to Source Code information is first

received by the affected individual and shall end two years after the individual has last

viewed the Highly Confidential-Source Code. For the avoidance of doubt, the restrictions set

forth in this paragraph shall not apply to an individual who did not conduct an in-person

inspection pursuant to paragraph 8 and whose access to Highly Confidential-Source Code




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information consists exclusively of notes, summaries, excerpts, printed pages or other Source

Code Documents.

       D. Process for Reviewing Source Code


       8.     Any Source Code information or items produced in discovery shall be made

available for inspection, in a format allowing it to be reasonably reviewed and searched,

during normal business hours or at other mutually agreeable times, at a mutually agreed

upon location, within the continental United States. The Source Code shall be made available

for inspection on a secured computer in a secured room without Internet access or network

access to other computers, and the Receiving Party shall not copy, remove, or otherwise

transfer any portion of the Source Code onto any recordable media or recordable device.

The Producing Party may visually monitor the activities of the Receiving Party’s

representatives during any Source Code review, but only to ensure that there is no

unauthorized recording, copying, or transmission of the Source Code.

       9.     The Receiving Party’s Outside Counsel of Record and/or experts may request

that commercially available licensed software tools for viewing and searching Source Code

be installed on the secured computer(s). If the Producing Party has access to or a license for

such software, it shall install such software in advance of the Source Code review. If the

Producing Party does not have access to or a license for such software, it shall notify the

Receiving Party, who will then have an opportunity to provide the Producing Party such

software tool(s) at least four business days in advance of the inspection, which will then be

installed on the secured computer(s).

       10.    The Receiving Party shall be entitled to take handwritten notes relating to the

Source Code. Any such notes shall not include copies or reproductions of portions of the



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Source Code; however, the notes may contain filenames, directory names, module names,

class names, parameter names, variable names, function names, method names, comments

or procedure names. No copies of all or any portion of the Source Code may leave the room

in which the Source Code is inspected except as otherwise provided herein. Further, no other

written or electronic record of the Source Code is permitted except as otherwise provided

herein. No notes shall be made or stored on the Source Code computer, or left behind at the

site where the Source Code computer is made available, and any such notes shall be deleted

or destroyed by the Producing Party, without reviewing the substance of the notes, upon

discovery. Notwithstanding the foregoing, any such notes shall be stamped and treated as

“Highly Confidential-Source Code.”

       11.    The Receiving Party may request a reasonable number of pages of Source

Code to be printed by the Producing Party, but only if and to the extent necessary for use in

this Action. Within five business days or such additional time as necessary due to volume

requested, the Producing Party will provide four copies of the requested material on

watermarked or colored paper bearing Bates numbers and the legend Highly Confidential –

Source Code. Any paper copies designated Highly Confidential – Source Code shall be stored

or viewed only at: (i) the offices of Outside Counsel of Record for the Receiving Party, (ii)

the offices of outside experts who have been approved to access Source Code; (iii) the site

where any deposition is taken; (iv) the courthouse; or (v) any intermediate location necessary

to transport the information to a hearing, trial or deposition. Any such paper copies shall be

maintained at all times in secure location under the direct control of counsel responsible for

maintaining the security and confidentiality of the designated materials or under the direct




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control of such counsel’s experts or consultants who have been approved to access Source

Code.

        12.   The Receiving Party shall maintain a record of any individual who has

inspected any portion of the Source Code in electronic or paper form. The Receiving Party

shall maintain all paper copies of any printed portions of the Source Code in a secured,

locked area. The Receiving Party shall not create any electronic or other images of the paper

copies and shall not convert any of the information contained in the paper copies into any

electronic format. The Receiving Party may create an electronic copy or image of limited

excerpts of Source Code only to the extent necessary in a pleading, exhibit, expert report,

discovery Document, deposition transcript, other Court document, or any drafts of these

Documents (i.e., Source Code Documents). The Receiving Party shall only make additional

paper copies if such additional copies are: (1) necessary to prepare court filings, pleadings,

or other papers (including a testifying expert’s expert report); (2) necessary for deposition,

or (3) otherwise necessary for the preparation of its case. Any paper copies used during a

deposition shall be retrieved by the Producing Party at the end of each day and must not be

given to or left with a court reporter or any other unauthorized individual.




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